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UNITED STATES DISTRICT COURT
SOUTHERN DISTRICT OF NEW YORK
---------------------------------------------------------------X
FREE HOLDINGS INC.,                                             :
                                                                : Civil Action No. 22-cv-00881 (LGS)
                             Plaintiff,                         :
                                                                :
         -against-                                              :
                                                                :
KEVIN MCCOY, SOTHEBY’S INC.,                                    : NOTICE OF APPEARANCE
NAMELESS CORPORATION, AND ALEX                                  :
AMSEL A/K/A SILLYTUNA,                                          :
                                                                :
                             Defendants.                        :

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         PLEASE TAKE NOTICE that Khasim Lockhart, of Frankfurt Kurnit Klein & Selz,

P.C., hereby appears as co-counsel for defendant Nameless Corporation in the above-

captioned proceeding.

 Dated: New York, New York
        March 14, 2022

                                                               FRANKFURT KURNIT KLEIN & SELZ, P.C.

                                                               By: /s/ Khasim Lockhart
                                                                    Khasim Lockhart
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                                                               New York, NY 10005
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                                                               Co-Counsel for Defendant Nameless
                                                                Corporation
